




DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         




		NO. 12-01-00340-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




ALFREDIA ANNETTE CHAN,§
	APPEAL FROM THE THIRD

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	ANDERSON COUNTY, TEXAS







PER CURIAM


	Appellant has filed a Motion to Dismiss Appeal.  The motion is signed by Appellant and her
counsel.  No decision having been delivered by this court, the motion is granted, and the appeal is
dismissed in accordance with Texas Rule of Appellate Procedure 42.2.


Opinion delivered January 17, 2002.

Panel consisted of Davis, C.J., Worthen, J., and Griffith, J.






(DO NOT PUBLISH)


